
917 So.2d 1121 (2005)
STATE ex rel. Willie FOLEY
v.
STATE of Louisiana.
No. 2005-KH-2162.
Supreme Court of Louisiana.
December 21, 2005.
In re Foley, Willie;  Plaintiff; Applying for Supervisory and/or Remedial Writs, *1122 Parish of Orleans, Criminal District Court Div. G, No. 279-500.
Relator represents that the district court has failed to act timely on an application for post-conviction relief filed on or about May 3, 2005. If relator's representation is correct, the district court is ordered to consider and act on the application. If relator's representation is incorrect, the district court is ordered to accept, file and act upon the pleading which is herewith transferred to the district court. The district court is ordered to provide this Court with a copy of its judgment.
